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MEMORANDUM OF LAW

I. INTRODUCTION

This is a case to register and enforce the Final Judgment entered by the United States
District Court for the Distn`ct of Colorado in favor of DISH and against TV for All in the matter
styled, DISH Network L.L.C. v. TVfor All, Inc., Civil Action No. 1:17-cv-01804-RBJ (the
“Federal Action”), for the total amount of $757,942.07.l DISH initiated the Federal Action to
confirm the Final Arbitration Award previously entered by a three-member arbitration panel
appointed by the American Arbitration Association in the matter styled, DISH Network L.L.C. v.
T V for All, Inc., Case No. 01-16-0000-1565 (the “Arbitration Action”).

DISH pursued the Arbitration Action against TV for All (a former authorized DISH
retailer) because TV for All fraudulently submitted: (1) false and misleading information to
DISH for the purpose of making current or former DISH® customers appear as if they were
“new” customers so TV for All would improperly qualify for certain incentive payments; (2)
false and invalid Social Security information to DISH for the purpose of qualifying potential
customers for promotional programs that required a particular credit score, and thus, allowed TV
for All to receive associated inventive payments; and (3) prepaid credit cards to illicitly qualify
numerous accounts (customers without the requisite credit score or reference) to receive DISH®
programming and services. As a result of this misconduct, the evidence presented during the
Arbitration Action proved that TV for All garnered a significant amount of incentive payments
from DISH_monies that TV for All was not entitled to receive. Consequently, the arbitration

panel entered the Final Arbitration Award against TV for All in the sum amount of

 

1 A certified copy of the Final Judgment, along with the Clerk’s Certification of the
Judgment to be Registered in Another District, are collectively attached hereto as Exhibit A.

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$'757,942.07_“an amount comprised of actual damages, administrative expenses and costs, and
reasonable attorneys’ fees” incurred by DISH. (See Ex. A, Final Judgment at 2).

A review of the records and information maintained by the Registry of Corporations and
Entities for the Departrnent of State of Puerto Rico shows that TV for All is a corporation with
an active corporate status.2 Likewise, the reported Registered Agent for TV for All is Emmanuel
Gonzalez, an individual who upon information and belief resides in Puerto Rico. (See Ex. B).
Accordingly, the Summons issued in the Federal Action, along with the pleadings filed by DISH,
were personally served upon Mr. Gonzalez in Puerto Rico pursuant to the Federal Rules of Civil
Procedure.3

Jurisdiction was proper in the Federal Action because: (1) DISH [a Colorado limited
liability company] and TV for All [a Puerto Rico corporation] are of diverse citizenship and the
amount in controversy exceeded $75,000 pursuant to 28 U.S.C. § 1332; (2) the governing
arbitration agreement between DISH and TV for All does not specify a particular federal court in
which an action to enforce the underlying arbitration award should be filed, and therefore, the
Federal Action was properly filed in the judicial district in which the underlying arbitration was
filed and the final award was made pursuant to 9 U.S.C. § 9; and (3) DISH and TV for All

contractually agreed that “any award of the Arbitrator(s) may be entered and enforced as a final

 

2

A true and accurate copy of the corporate listing for TV for All, as reported by the
Registry of Corporations and Entities for the Department of State of Puerto Rico, is attached
hereto as Exhibit B.

3

A true and accurate copy of the Summons and the executed Proof of Service filed in the
Federal Action are collectively attached hereto as Exhibit C.

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judgment in any state or federal court of competent jurisdiction in the United States.”4 (See Ex.
C § 15.3.2.)

Although TV for All was represented by legal counsel in the Arbitration Action, TV for
All failed to make an appearance in the Federal Action, file any responsive pleadings, or
otherwise defend the matter pursuant to the Federal Rules of Civil Procedure. Consequently, the
Honorable R. Brooke Jackson entered the Final Judgment in favor of DISH. (See Ex. A).
Judicial records show that registration of the Final Judgment is appropriate because “the time for
appeal has expired, and no appeal has been filed or, if one was filed, it is no longer pending.”
(Ex. A; 28 U.s.C. § 1963).

Upon information and belief, TV for All has no assets within the State of Colorado;
however, it maintains an active corporate status along with substantial assets and a Personal
Guarantor in Puerto Rico.5 Therefore, DISH respectfully requests registration of the Final
Judgment within this forum pursuant to 28 U.S.C. § 1963. Upon registration of the Final
Judgment, DISH will pursue enforcement of the money judgment against TV for All in accord
with the provisions of Rule 69 of the Federal Rule of Civil Procedure, unless the Court directs
otherwise.

II. LEGAL STANDARD

The federal registration statues provides, inter alia, that “[a] judgment in an action for the

recovery of money or property entered in any . . . district court . . . may be registered by filing a

certified copy of the judgment in any other district . . . when the judgment has become final by

 

4

Relevant portions of the governing DISH Retailer Agreement between the parties,
including the arbitration provisions therein, are collectively attached hereto as Exhibit D.

5 A substantial portion of the money judgment against TV for All (e.g., $291,853.00) is
personally guaranteed by Ismael Gonzalez_the President of TV for All. Upon information and
belief, Mr. Gonzalez is a resident of Puerto Rico. A copy of the governing Personal Guaranty is
attached hereto as Exhibit E.

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appeal or expiration of the time for appeal . . . . A judgment so registered shall have the same
effect as a judgment of the district court of the district where registered and may be enforced in
like manner.” 28 U.S.C. § 1963. “Section 1963 was enacted in large part to ‘assist [ ] judgment
creditors by making it possible for them to pursue the property of a debtor in satisfaction of a
judgment by the ordinary process of levying execution on a judgment in any district where the
judgment is registered’ and thus, ‘spare creditors and debtors alike both the additional costs and
harassment of further litigation which would otherwise be required by way of an action on the
judgment in a district court other than that where the judgment was originally obtained.’” Home
Port Rentals, Inc. v. International Yachting Group, lnc., 252 F.3d 399, 404 (5th Cir. 2001).
“Federal cotn‘ts construing the federal judgment registration statute have held that it
provides a remedy that is cumulative of others that may be available to enforce a judgrnent.” JPI
Partners, LLC v. Dz`xon, Civ. No. 6:07-mc-77-Orl-22DAB, 2008 WL 2185744, at *l (M.D. Fla.
May 23, 2008) (citing Urban Industrz‘es, Inc. of Kem‘ucky v. Thevis, 670 F.2d 981, 985 (llth
Cir.1982) (recognizing that the federal judgment registration statute provides a cumulative
remedy); Travelers Indem. Co. of Illinois v. Hash Management, lnc., 173 F.R.D. 150
(M.D.N.C.l997) (finding a certified copy of a judgment entered by another court provides a
streamlined alternative to enforcement, but judgment creditors are also free to employ the
traditional remedy of instituting an entirely new and separate action)). Thus, “[f]ollowing
registration, a judgment creditor may secure a writ of execution from the registering court and
deliver it to the local Marshal for execution. Of course, if a judgment is not fully satisfied in that
district, it can then be registered in other districts until satisfaction is achieved.” U.S. v. Palmer,

609 F. supp. 544, 548 (D.c. Tenn. 1985).

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While “exequatur” proceeding are typically required under Puerto Rico law to enforce a
foreign judgment, the Supreme Court of Puerto Rico recently held, inter alia, that the courts of
Puerto Rico do not have the power to validate judgments issued by the federal courts of the
United States through the exequatur procedure because “federal judgments cannot be classified
as ‘issued by another jurisdiction that is not a state of the United States or its territories”’ as set
forth in Rule 55.5 of the Puerto Rico Rules of Civil Procedure. See Serrano v. Camioneros
Cooperativa de Transporte de Carga, 2018 WL 1719565, *5 (P.R. March 15, 2018). Thus, the
provisions of 28 U.S.C § 1963 and Rule 69 of the Federal Rules of Civil Procedure are
appropriate in this matter.

III. ARGUMENT

The Final Judgment issued by the United States District Court for the District of
Colorado in favor of DISH and against TV for All warrants registration in this Court pursuant 28
U.S.C. § 1963 because: (1) jurisdiction was proper in the Federal Action pursuant federal law
and the parties’ contractual agreement; (2) the money judgment “has become final by appeal or
expiration of time for appeal;” and (3) TV for All is an “active” corporation with substantial
assets in Puerto Rico. (See supra Part II; Exs. A-B). Further, registration of the Final Judgment
will spare both DISH and TV for All “the additional costs and harassment of further litigation
which would otherwise be required by way of an action on the judgment in a district court other
than that where the judgment was originally obtained.”’ Home Port Rentals, 252 F.3d at 404.

Inasmuch as the federal registration statute provides “a remedy that is cumulative of
others that may be available to enforce a judgment,” at the discretion of the Court, DISH will
pursue a Writ of Execution following registration of the Final Jua'gment pursuant to Rule 69 of

the Federal Rules of Civil Procedure and Puerto Rico law. Dixon, 2008 WL 2185744 at *1;

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Palmer, 609 F. Supp. at 548; Fed. R. Civ. P. 69; see also Serrano, 2018 WL l7l9565 *5 (“ifa
victorious litigant in the federal forum is interested in enforcing [a judgment it], must obtain a
writ of execution issued by the federal court, pursuant to Rule 69 of Federal Civil Procedure.”).
IV. CONCLUSION
For the foregoing reasons, DISH respectfully requests that the Court register the Fz'nal
Judgment issued by the United States District Court for the District of Colorado in favor of DISH
and against TV for All pursuant 28 U.S.C. § 1963.

Dated; october 4“‘, 201 s.
Respectfully submitted,

O'NEILL & BORGES LLC

By:

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CERTIFICATE OF SERVICE

l hereby certify that on this 4Lh day of October 2018, a true and correct copy of
PLAINTIFF DISH NETWORK L.L.C.’S MO'I`ION TO REGISTER AND ENFORCE
THE JUDGMENT ENTERED BY THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF COLORADO AND MEMORANDUM OF LAW IN SUPPORT
THEREOF was served to the in accordance with the Federal Rules of Civil Procedure:

TV for All, Inc.
Attn: Emmanuel Gonzalez, Registered Agent

P.O. Box 140614
Arecibo, Puerto Rico 00614

  

By
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